     Case 13-12466-RG            Doc 194       Filed 08/14/14 Entered 08/14/14 09:35:07                      Desc Final
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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 13−12466−RG
                                          Chapter: 11
                                          Judge: Rosemary Gambardella

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Care Environmental Corp.
   429A East Blackwell Street
   Dover, NJ 07801
Social Security No.:

Employer's Tax I.D. No.:
  22−3070727

                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that is discharged as trustee of the estate of the above named debtor(s) and the bond is canceled;
and the case of the above named debtor(s) is closed.


Dated: August 14, 2014                          Rosemary Gambardella
                                                Judge, United States Bankruptcy Court
